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IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

REPUBLICAN NATIONAL
COMMITTEE, )
) No. 24-5358
Plaintiff-Appellant, )
) U.S. District Court for the
Vv. ) Eastern District of California
) No. 2:22-cv-01904
GOOGLE INC. AND GOOGLE LLC, )
)
Defendants-Appellees. )
UNOPPOSED MOTION FOR EXTENSION OF TIME
TO FILE RESPONSE BRIEF
Defendant Google LLC, by and through undersigned counsel, respectfully
requests a 10-day extension of time, up to and including April 28, 2025, to file its
response brief in the above-captioned case. Counsel for Plaintiff-Appellant, the
Republican National Committee (“RNC”), consents to this motion. In support, Google
states as follows:
1. The RNC’s opening brief was originally due on November 19, 2024.

The RNC received a 63-day extension of time in which to file its opening brief, with

Google’s consent, and filed its opening brief on January 21, 2025.

2. After the RNC’s motion was granted, Google’s response brief was due
on February 20, 2025. Google requested and received one streamlined extension of

time, extending the deadline to March 24, 2025.

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3. On March 4, 2025, Google requested a 25-day extension. This Court
granted that request, extending Google’s deadline to April 18, 2025.

4, With the requested 10-day extension, Google’s response brief would be
due on April 28, 2025.

5. Google requests the extension because its lead appellate counsel,
Michael Huston, has been heavily occupied by the press of other business during the
response briefing period. The Supreme Court of the United States has appointed Mr.
Huston as amicus curiae counsel in Parrish v. United States, No. 24-275, and he will
argue that case on Monday, April 21, 2025. Mr. Huston also has been in charge of
preparing appellate briefs in multiple other courts, including an en banc petition in
this Court in Hill v. NaphCare, Inc., No. 23-2741, as well as several other appellate
briefs due in the next two weeks.

6. Counsel for the RNC consents to this requested extension.

WHEREFORE, Google respectfully requests a 10-day extension of time, up

to and including April 28, 2025, to file its response brief.
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Dated: April 17, 2025

Respectfully submitted,

By: /s/ Michael R. Huston

Michael R. Huston

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Counsel for Defendant-Appellee Google LLC
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CERTIFICATE OF COMPLIANCE

I certify that:

This motion complies with the type-volume limitation of Fed. R. App. P.
27(d)(2)(A) because it contains 292 words, excluding the parts of the motion ex-
empted by Fed. R. App. P. 27(a)(2)(B).

This motion complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has
been prepared in a proportionately spaced typeface using Microsoft Word and Times

New Roman 14-point font.

By: /s/ Michael R. Huston

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CERTIFICATE OF SERVICE

Thereby certify that on April 17,2025, I electronically filed the foregoing with
the Clerk of the Court for the U.S. Court of Appeals for the Ninth Circuit via the
ACMS filing system. I certify that all participants in the case are registered ACMS

users and that service will be accomplished by the ACMS system.

By: /s/ Michael R. Huston

